                         IN THE UNITED STATES DISTRICT COURT
                          FOR THE MIDDLE DISTRICT OF NORTH
                                      CAROLINA

    MAXWELL KADEL, et al.,                        )
                                                  )
            Plaintiffs,                           )
    v.                                            )
                                                  ) Case No.: 1:19-cv-272-LCB-LPA
    DALE FOLWELL, in his official capacity )
    as State Treasurer of North Carolina, et al., )
                                                  )
            Defendants.                           )
                                                  )
                                             ORDER

       This matter is before the Court on a Joint Motion for Entry of Stipulation to Correct

Defendant North Carolina Department of Public Safety’s Answer. (ECF No. 104).

       Upon consideration of the unopposed motion by Defendant State of North Carolina

Department of Public Safety (“DPS”) and Plaintiffs Maxwell Kadel, Jason Fleck, Connor

Thonen-Fleck, Julia McKeown, Michael D. Bunting, Jr., C.B., by his next friends and parents,

Michael D. Bunting, Jr. and Shelley K. Bunting, Sam Silvaine, and Dana Caraway (collectively,

“Plaintiffs”) to correct DPS’s Answer (ECF No. 96) and clarify DPS’s position as to the

allegations in paragraphs fifteen through seventeen and paragraph 178 of Plaintiffs’ Amended

Complaint (ECF No. 75),

       IT IS HEREBY ORDERED, that the motion for approval and entry of the Stipulation is

GRANTED. The Stipulation, entered on the docket as ECF No. 104-1, shall be deemed filed as

of the date of this Order.

       This, the ____day of July, 2021.



                                                            United States District Judge




     Case 1:19-cv-00272-LCB-LPA Document 104-2 Filed 07/08/21 Page 1 of 1
